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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                    8:07CR102
       vs.                                     )
                                               )                     ORDER
JOSE PALILLOS,                                 )
                                               )
                      Defendant.               )


       Defendant has filed a Motion for Disclosure of Confidential Informant's Identity [34]
and requests an evidentiary hearing. The deadline for filing motions of this nature expired
on April 6, 2007, and the case is set for trial on July 23, 2007. There appears to be no reason
why this motion could not have been filed before the April 6 deadline, and the defendant did
not timely request an extension of time in which to file substantive pretrial motions. For
these reasons,

       IT IS ORDERED that defendant's Motion for Disclosure of Confidential Informant's
Identity and Request for Evidentiary Hearing [34] is denied.

        Pursuant to NECrimR 57.2, a party may appeal this order by filing a "Statement of
Appeal of Magistrate Judge's Order" no later than July 16, 2007. The party shall specifically
state the order or portion thereof appealed from and the basis of the appeal. The appealing
party shall file contemporaneously with the statement of appeal a brief setting forth the
party's arguments that the magistrate judge's order is clearly erroneous or contrary to law. The
filing of a statement of appeal does not automatically stay the magistrate judge's order
pending appeal. See NECrimR 57.2(d).

       DATED July 12, 2007.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
